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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 _________________________________________
                                                            )
 PERSONAL SERVICES CONTRACTOR                               )
 ASSOCIATION,                                               )
                                                            )
                           Plaintiff,                       )        Case No. 1:25-cv-469-CJN
                                                            )
 v.                                                         )
                                                            )
 DONALD TRUMP, et al.,                                      )
                                                            )
                    Defendants.                             )
 ___________________________________________


            MOTION FOR LEAVE TO SUPPLEMENT THE RECORD ON
         PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER

       Plaintiff Personal Services Contractor Association (“Association”) moves pursuant to

Local Civil Rules 7(d) and 65.1 to file the attached supplemental declarations in support of its

Motion for a Temporary Restraining Order (ECF No. 6) and states the following in support:

       1.        The situation regarding the U.S. Agency for International Development (USAID),

including the status of its Personal Service Contractor (PSC) workforce, is rapidly evolving—

even hour-to-hour.

       2.        Members of the Association stationed abroad remain in precarious circumstances,

subject to the termination of their contracts with only 15-days’ notice and without the protections

the government has indicated it plans to provide to “direct hire” employees.

       3.        Given the shifting landscape since Plaintiff filed for a temporary restraining order

on February 19, 2025, which includes the mass termination of most PSCs stationed in the United

States, Plaintiff seeks to include in the record supplemental declarations attesting to current

circumstances.
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        4.      The additional evidence Plaintiff seeks to file is crucial for the Court to have a

complete and accurate understanding of the current facts related to the dismantling of USAID

and the consequent irreparable harm on Plaintiff’s members.

        5.      The additional declarations are attached as Exhibits 1 to 14.

        6.      Allowing this supplementation will not prejudice any party and will ensure the

Court has the most up-to-date information to make an informed decision.

        7.      The Court has inherent authority to supplement the record when changes in facts

affect the issues central to the litigation.

        Accordingly, Plaintiff respectfully requests leave to include Exhibits 1 to 14 in the record

of its motion for a Temporary Restraining Order. A proposed order is attached and will also be

emailed to CJNpo@dcd.uscourts.gov.

Dated: February 26, 2025
                                         Respectfully submitted,


                                          /s/ Marni Willenson


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 District of Columbia bar.                                             member of the District of
                                                                       Columbia bar.




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